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   Attorneys for Plaintiff R.A. Feuer
12
                                 UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
14
15 R.A. FEUER, derivatively on behalf of              Case No. 3:18-cv-02866-JST
   WELLS FARGO & CO.,
16                                                    STIPULATION AND [PROPOSED] ORDER
                            Plaintiff,                RE: PLAINTIFF’S RESPONSE TO
17                                                    MOTIONS TO DISMISS OF WELLS
18         v.                                         FARGO & COMPANY (DOCKET NO. 54)
                                                      AND NATIONAL GENERAL INSURANCE
19 JOHN D. BAKER, II, et al.,                         COMPANY AND NATIONAL GENERAL
                                                      HOLDINGS CORP. (DOCKET NO. 55)
20                            Defendants,
                                                      JUDGE: Hon. Jon S. Tigar
21           - and -                                  CTRM: 9 – 19th Floor

22 WELLS FARGO & COMPANY,
23                            Nominal Defendant.
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                                                                             Case No. 3:18-cv-02866-JST
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 1             WHEREAS, on May 16, 2018, Plaintiff R.A. Feuer filed a Verified Derivative Complaint

 2   in Feuer v. Wells Fargo & Co., No. 3:18-cv-02866-JST (the “Feuer Action”) (Feuer Action, ECF

 3   No. 1);

 4             WHEREAS, on June 20, 2018, Plaintiff Feuer filed an Amended Complaint (Feuer

 5   Action, ECF No. 19) (the “Feuer Complaint”);

 6             WHEREAS, on September 7, 2018, nominal defendant Wells Fargo & Co. (“Wells

 7   Fargo”) and defendants National General Insurance Company and National General Holdings

 8   Corp. (the “Insurer Defendants”) each filed separate motions to dismiss the Feuer Complaint and

 9   supporting memoranda of law (Docket No. 54, in the case of Wells Fargo, and Docket No. 55 in

10   the case of the Insurer Defendants), on the issue of whether plaintiff has properly pleaded

11   standing based on a wrongful refusal of his stockholder demand;

12             WHEREAS, pursuant to a Stipulation approved by the Court on July 26, 2018 (Docket

13   No. 30), plaintiff’s responses to defendants’ motions to dismiss are due on October 8, 2018, and

14   defendants’ reply brief is due on October 29, 2018;

15             WHEREAS, rather than file two separate briefs in opposition to defendants’ motions to

16   dismiss, each consisting of up to 25 pages in accordance with Local Rule 7-4 of this Court,

17   plaintiff proposes, subject to the Court’s approval, that plaintiff be granted leave to file a single

18   brief in opposition to both motions to dismiss not to exceed 35 pages in length.

19             NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, between the

20   parties, by and through their counsel, that plaintiff may file a single brief in opposition to

21   defendants’ motions to dismiss not to exceed 35 pages in length.

22   IT IS SO STIPULATED.

23   Dated: September 27, 2018                     WOLF HALDENSTEIN ADLER
                                                   FREEMAN & HERZ LLP
24
25                                                 By:     /s/ Betsy C. Manifold
                                                           BETSY C. MANIFOLD
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                                               Counsel for Nominal Defendant Wells Fargo &
                                               Company

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 1 Dated: September 27, 2018                      QUINN EMANUEL URQUHART
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                                                  By:     /s/ Corey Worcester
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16                                                Attorneys for Defendants National General
                                                  Insurance Company and National General Holdings
17                                                Corp.

18
                          DECLARATION REGARDING CONCURRENCE
19
            I, Betsy C. Manifold, am the ECF user whose identification and password are being used
20
     to file this STIPULATION AND [PROPOSED] ORDER RE: PLAINTIFF’S RESPONSE TO
21
     MOTIONS TO DISMISS OF WELLS FARGO & COMPANY (DOCKET NO. 54) AND
22
     DEFENDANTS NATIONAL GENERAL INSURANCE COMPANY AND NATIONAL
23
     GENERAL HOLDINGS CORP. (DOCKET NO. 55). In compliance with Civil Local Rule 5-
24
     1(i)(3), I hereby attest that Brendan P. Cullen and Corey Worcester have concurred in this filing.
25
     DATED: September 27, 2018                            /s/ Betsy C. Manifold
26                                                        BETSY C. MANIFOLD
27
28



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                                                ORDER
 1
     THE FOREGOING STIPULATION IS APPROVED AND IT IS SO ORDERED.
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 3
     Dated: October 1, 2018
 4                                                          THE HONORABLE JON S. TIGAR
 5                                                          UNITED STATES DISTRICT JUDGE

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